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               EXHIBIT C
                      Case 5:18-cv-07490-BLF Document 20-3 Filed 01/17/19 Page 2 of 4




                 1   BRIAN L. JOHNSRUD, State Bar No. 184474
                     PATRICK M. SHERMAN, State Bar No. 229959
                 2   CYNTHIA M. JARA, State Bar No. 212011
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                     Menlo Park, CA 94025
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                     Facsimile: 650.323.1002
                 5   E-mail: bjohnsrud@chjllp.com
                             psherman@chjllp.com
                 6            cjara@chjllp.com

                 7   Attorneys for Defendants
                     SAP LABS, LLC, SAP AMERICA, INC.,
                 8   JEWELL PARKINSON and JENNY LE

                 9
                                                UNITED STATES DISTRICT COURT
              10
                                             NORTHERN DISTRICT OF CALIFORNIA
              11

              12
                     MUHAMMAD KHAN,                             Case No. 3: 18-CV-07490-SVK
              13
                                         Plaintiff,             PROOF OF SERVICE
              14
                                  v.
              15
                     SAP LABS, LLC, SAP AMERICA, INC.
              16     (erroneously sued as SAP Americas, LLC),
                     JEWELL PARKINSON, AND JENNY
              17     LE,
              18                         Defendants.

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CURLEY, HURTGEN&     -------------------------------1
   JOHNSRUD LLP                                                                          PROOF OF SERVICE
 COUNSELORS AT LAW
    MENLO PARK                                                                     CASE NO. 18-CV-07490-SVK
                          Case 5:18-cv-07490-BLF Document 20-3 Filed 01/17/19 Page 3 of 4




                 1                                                  PROOF OF SERVICE

                 2              I, the undersigned, certify and declare that I am over the age of 18 years, employed in the
                         County of San Mateo, State of California, and not a party to the within-entitled action. My
                 3       business address is Soledad Prison Road, Soledad, CA 93960.

                 4             On
                         document(s):
                                         t/'J.. /, 'I   , 20   a.   as provided in FRCivP 5(b), I served the within
                 5
                           DEFENDANTS' NOTICE OF MOTION AND MOTION TO DISMISS;
                 6         MEMORANDUM OF POINTS AND AUIBORITIES IN SUPPORT THEREOF

                 7         REQUEST FOR JUDICIAL NOTICE FILED IN SUPPORT OF DEFENDANTS SAP
                           LABS, LLC, SAP AMERICA, INC., JENNY LE AND JEWELL PARKINSON'S
                 8         MOTION TO DISMISS
                 9         [PROPOSED] ORDER GRANTING DEFENDANTS SAP LABS, LLC, SAP
                           AMERICA, INC., JENNY LE AND JEWELL PARKINSON'S MOTION TO DISMISS
              10

              11               D        by placing the document(s) listed above in a sealed envelope with postage thereon
                                        fully prepaid, in the United States mail at Menlo Park, California addressed as set
              12                        forth below.

              13
                               D        by placing the document(s) listed above in a sealed Federal Express_envelope and
                                        affixing a pre-paid air bill, and causing the envelope to be delivered to a Federal
              14
                                        Express agent for delivery.
              15

              16                        by causing the document(s) listed above to be personally delivered at to the
                                        person(s) at the address(es) set forth below.
              17
                                Muhammad Khan, CTF BF7156
              18                c/o Correctional Training Facility
                                Attn: Proof of Service
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                                P.0.Box686
              20                Soledad, CA 93960

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CURLEY, HURTGEN
  JOHNSRUD LLP
                     &   ----------------:----------------------------!
                                               1              PROOF OF SERVICE
 COUNSBLORS AT LAW
    MENLO PARK                                                                                       CASE NO. 18-CV-07490-SVK
                     Case 5:18-cv-07490-BLF Document 20-3 Filed 01/17/19 Page 4 of 4




               1           I am readily familiar with the firm's practice of collection and processing correspondence
                    for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
               2    day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                    motion of the party served, service is presumed invalid if postal cancellation date or postage
               3    meter date is more than one day after date of deposit for mailing in affidavit.
               4           Executed on     I/ :z. / 11    201 ~ at Soledad, California.
               5            I declare under penalty of perjury that I am employed in the office of a member of the Bar
                    of this Court at whose direction the service was made, and that the foregoing is true and correct.
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               7                                                        SIGNATURE
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CURLEY,HURTGEN&:
  JOHNSRUD LLP
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                                              2                 PROOF OF SERVICE
 cou:·.~~:~::.LAw                                                                           CASE NO. 18-CV-07490-SVK
